                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:

 CLEO B. HALL
 AKA: CLEO BERNADETTE HALL                       Chapter:          13
                                   Debtor 1      Case No.:         5:23-bk-01315 MJC



 JACK N. ZAHAROPOULOS
 CHAPTER 13 TRUSTEE
    vs.               Movant(s)

 CLEO B. HALL
 AKA: CLEO BERNADETTE HALL
                   Respondent(s)


                                 ORDER DISMISSING CASE

       Upon consideration of the Trustee's Certificate of Default of Stipulation in settlement of

the Trustee's prior Motion to Dismiss Case for Material Default, Dkt. # 63, Debtor's Objection

thereto, Dkt. # 64, after a hearing held on May 15, 2025, and it having been determined that this

case should be dismissed,

         IT IS ORDERED that the above-captioned case of the Debtor be and it is hereby

DISMISSED.

         Notwithstanding the dismissal of this case, the court retains jurisdiction over timely

requests for payment of compensation.




                                                   By the Court,



                                                   _____________________________
                                                   Mark J. Conway, Bankruptcy Judge
                                                   Dated: May 15, 2025



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